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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA                                                                PLAINTIFF

v.                                  No. 4:14CR00010-22 JLH

ARLIN GENE CHEETER                                                                   DEFENDANT

                                             ORDER

       Arlin Gene Cheeter has filed a motion asking that the Court amend the judgment to give him

credit for the six months he served in Pulaski County, Arkansas. In that motion, Cheeter says that

the Court informed him at the sentencing hearing that he would be given credit for the time that he

was in custody at the Pulaski County Detention Center from October 21, 2013, to March 13, 2014.

That allegation is inaccurate. The Court has no authority to award credit for time served and did not

say at the sentencing hearing that Cheeter would be given credit for that time. The determination

of credit for time served must be left to the Bureau of Prisons. United States v. Pardue, 363 F.3d

695, 699 (8th Cir. 2004). After administrative remedies within the Bureau of Prisons are exhausted,

a prisoner may seek judicial review of the jail-time credit determination by filing a habeas petition

in the district where the defendant is incarcerated under 28 U.S.C. § 2241. Id. at 699. The motion

is DENIED. Document #517.

       IT IS SO ORDERED this 27th day of October, 2015.




                                                      J. LEON HOLMES
                                                      UNITED STATES DISTRICT JUDGE
